                              NO. 07-09-0209-CR

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL B

                                JULY 21, 2010




                               EUGENE THOMAS,


                                   Appellant
                                     v.


                             THE STATE OF TEXAS,


                                    Appellee
                        _____________________________

               FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;

                NO. 57,836-A; HONORABLE HAL MINER, PRESIDING



                               Anders Opinion



Before QUINN, C.J., and CAMPBELL  and HANCOCK, JJ.
            Eugene Thomas was convicted, after a jury trial, of  the  felony
offense of driving while intoxicated.  His  punishment  was  enhanced  by  a
prior conviction, and he was sentenced to confinement for nine years.
       Appellant's  appointed  counsel  has  filed  a  motion  to  withdraw,
together  with  an  Anders  brief,[1]  wherein  he  certifies  that,   after
diligently searching the record, he has concluded  that  appellant's  appeal
is without merit.  Along with his brief, he has filed a  copy  of  a  letter
sent to appellant informing him  of  counsel's  belief  that  there  was  no
reversible error and of appellant's right to file a brief  or  response  pro
se.  By letter dated January 8, 2010, this court also notified appellant  of
his right to file his own response by February 8, 2010, if he wished  to  do
so.  Appellant timely filed a response in which he alleged  that  his  trial
counsel was ineffective for not letting  him  testify  at  trial[2]  and  in
failing to object to testimony of the State's main witness.
      In compliance with the  principles  enunciated  in  Anders,  appellate
counsel discussed several potential areas for  appeal.   They  include:   1)
the factual sufficiency of the evidence to support the  conviction,  2)  the
effectiveness  of  trial  counsel,  3)  the  excessiveness  of   appellant's
punishment, and 4) possible error in  the  admission  of  a  trial  exhibit.
However, counsel discussed  the  applicable  law  and  represented  that  he
analyzed the facts  of  this  case  within  the  context  of  that  law  and
determined that no reversible error existed.
      We have also conducted our own review of  the  record  to  assess  the
accuracy of appellate counsel's conclusions and to  uncover  any  reversible
error pursuant to Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App.  1991),
along with appellant's response, and concluded the same.






      Accordingly, the motion to withdraw is granted  and  the  judgment  is
affirmed.[3]


                                              Brian Quinn
                                              Chief Justice
Do not publish.
-----------------------
      [1]See Anders v. California, 386 U.S. 738, 744-45, 87 S.Ct. 1396, 18
L.Ed.2d 493 (1967).

      [2]Appellant testified at trial, outside the  presence  of  the  jury,
that he had discussed with his counsel whether he should  testify  and  that
he (appellant) felt like "it's best for me not to testify."

      [3]Appellant has the right to file a pro se petition for discretionary
review from this opinion.







